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   8
                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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  11        WESLEY SINNATHMBY,
                                                    Case No. 2:20-cv-08930-DSF-
  12                  Plaintiff,                    MRWx
  13             v.                                  STIPULATED PROTECTIVE
  14                                                 ORDER
            MICHAEL DUANE INSCORE et al.,
  15                                                 (MRW VERSION 4/19)
                      Defendant.
  16                                                ‫ ܈‬Check if submitted without
                                                    material modifications to MRW form
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       1.      INTRODUCTION
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               1.1    PURPOSES AND LIMITATIONS
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               Discovery in this action is likely to involve production of confidential,
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       proprietary, or private information for which special protection from public disclosure
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       and from use for any purpose other than prosecuting this litigation may be warranted.
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       Accordingly, the parties hereby stipulate to and petition the Court to enter the
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       following Stipulated Protective Order. The parties acknowledge that this Order does
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       not confer blanket protections on all disclosures or responses to discovery and that
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       the protection it affords from public disclosure and use extends only to the limited
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       information or items that are entitled to confidential treatment under the applicable
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       legal principles. The parties further acknowledge, as set forth in Section 12.3, below,
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   1   that this Stipulated Protective Order does not entitle them to file confidential
   2   information under seal; Civil Local Rule 79-5 sets forth the procedures that must be
   3   followed and the standards that will be applied when a party seeks permission from
   4   the court to file material under seal.
   5         1.2    GOOD CAUSE STATEMENT
   6         Plaintiff has engaged in a series of breach of contract / fraudulent real estate
   7   and financial transactions in the Rosarito area of Baja California, one of which is
   8   involved in this action, but all of which involve intertwining and overlapping – but in
   9   other respects distinct -- events and parties, including an Mexican Indian Tribe. The
  10   transactions involve both the real property contracts and negotiations, and the
  11   development contracts and buildout of the involved real property. Also involved are
  12   other real properties and developments which are subject to ongoing complex,
  13   sensitive negotiations involving some of the same parties, including some involved
  14   parties who were initially named as Mexican domiciled defendants, have now been
  15   dismissed solely because of their foreign domicile and Plaintiff’s foreign domicile.
  16         The financial records involved are those typically covered by financial
  17   privacy laws. Further, private inside information on these transactions – reflecting
  18   Plaintiff’s business plans and investment thinking – from each real property and
  19   development investment would be extremely valuable to the parties involved in other
  20   real property and development properties.
  21         Plaintiff is prepared to give substantial discovery which will entail both (a) the
  22   immediate real property and development transactional documents and financial
  23   documentation, involving hundreds of thousands of dollars, and (b) all of the related
  24   real property and development transactional documents and financial documentation,
  25   also involving similar sums of capital. Significant subjects of dispute in this action
  26   involve the nature and extent to which (a) Defendant Michael Inscore is himself
  27   involved with the other mentioned parties and now non-parties, and (b) the
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   1   relationship of this transaction with other similar ones with the aforementioned parties
   2   and non-parties.
   3         Submission of the broadest scope of discovery – in some respects beyond that
   4   which Inscore is seeking in currently pending discovery -- would ensure adequate
   5   notice to Inscore Defendants of Plaintiff’s related transactions and claims, for
   6   litigation and possible settlement. But, in so doing, Plaintiff needs assurances unless
   7   eventually needed for trial, etc., that the documents will not be shared with or
   8   disclosed to any party outside of this litigation; nor used for any purpose other than
   9   for this litigation; nor end up in public internet websites.
  10   2.    DEFINITIONS
  11         2.1    Action: This pending federal law suit.
  12         2.2    Challenging Party: a Party or Non-Party that challenges the designation
  13   of information or items under this Order.
  14         2.3    “CONFIDENTIAL” Information or Items: information (regardless of
  15   how it is generated, stored or maintained) or tangible things that qualify for protection
  16   under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
  17   Cause Statement.
  18         2.4    Counsel: Outside Counsel of Record and House Counsel (as well as their
  19   support staff).
  20         2.5    Designating Party: a Party or Non-Party that designates information or
  21   items that it produces in disclosures or in responses to discovery as
  22   “CONFIDENTIAL.”
  23         2.6    Disclosure or Discovery Material: all items or information, regardless
  24   of the medium or manner in which it is generated, stored, or maintained (including,
  25   among other things, testimony, transcripts, and tangible things), that are produced or
  26   generated in disclosures or responses to discovery in this matter.
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   1         2.7    Expert: a person with specialized knowledge or experience in a matter
   2   pertinent to the litigation who has been retained by a Party or its counsel to serve as
   3   an expert witness or as a consultant in this Action.
   4         2.8    House Counsel: attorneys who are employees of a party to this Action.
   5   House Counsel does not include Outside Counsel of Record or any other outside
   6   counsel.
   7         2.9    Non-Party: any natural person, partnership, corporation, association, or
   8   other legal entity not named as a Party to this action.
   9         2.10 Outside Counsel of Record: attorneys who are not employees of a party
  10   to this Action but are retained to represent or advise a party to this Action and have
  11   appeared in this Action on behalf of that party or are affiliated with a law firm which
  12   has appeared on behalf of that party, and includes support staff.
  13         2.11 Party: any party to this Action, including all of its officers, directors,
  14   employees, consultants, retained experts, and Outside Counsel of Record (and their
  15   support staffs).
  16         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
  17   Discovery Material in this Action.
  18         2.13 Professional Vendors: persons or entities that provide litigation support
  19   services (e.g., photocopying, videotaping, translating, preparing exhibits or
  20   demonstrations, and organizing, storing, or retrieving data in any form or medium)
  21   and their employees and subcontractors.
  22         2.14 Protected Material:       any Disclosure or Discovery Material that is
  23   designated as “CONFIDENTIAL.”
  24         2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
  25   from a Producing Party.
  26   3.    SCOPE
  27         The protections conferred by this Stipulation and Order cover not only
  28   Protected Material (as defined above), but also (1) any information copied or extracted
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   1   from Protected Material; (2) all copies, excerpts, summaries, or compilations of
   2   Protected Material; and (3) any testimony, conversations, or presentations by Parties
   3   or their Counsel that might reveal Protected Material.
   4         Any use of Protected Material at trial will be governed by the orders of the trial
   5   judge. This Order does not govern the use of Protected Material at trial.
   6   4.    DURATION
   7         4.1       Even after final disposition of this litigation, the confidentiality
   8   obligations imposed by this Order will remain in effect until a Designating Party
   9   agrees otherwise in writing or a court order otherwise directs. Final disposition will
  10   be deemed to be the later of (1) dismissal of all claims and defenses in this Action,
  11   with or without prejudice; and (2) final judgment herein after the completion and
  12   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
  13   including the time limits for filing any motions or applications for extension of time
  14   pursuant to applicable law.
  15   5.    DESIGNATING PROTECTED MATERIAL
  16         5.1       Exercise of Restraint and Care in Designating Material for Protection.
  17   Each Party or Non-Party that designates information or items for protection under this
  18   Order must take care to limit any such designation to specific material that qualifies
  19   under the appropriate standards. The Designating Party must designate for protection
  20   only those parts of material, documents, items, or oral or written communications that
  21   qualify so that other portions of the material, documents, items, or communications
  22   for which protection is not warranted are not swept unjustifiably within the ambit of
  23   this Order.
  24         Mass, indiscriminate, or routinized designations are prohibited. Designations
  25   that are shown to be clearly unjustified or that have been made for an improper
  26   purpose (e.g., to unnecessarily encumber the case development process or to impose
  27   unnecessary expenses and burdens on other parties) may expose the Designating Party
  28   to sanctions.
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   1         If it comes to a Designating Party’s attention that information or items that it
   2   designated for protection do not qualify for protection, that Designating Party must
   3   promptly notify all other Parties that it is withdrawing the inapplicable designation.
   4         5.2    Manner and Timing of Designations. Except as otherwise provided in
   5   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
   6   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
   7   under this Order must be clearly so designated before the material is disclosed or
   8   produced.
   9         Designation in conformity with this Order requires:
  10         (a) for information in documentary form (e.g., paper or electronic documents,
  11   but excluding transcripts of depositions or other pretrial or trial proceedings), that the
  12   Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
  13   “CONFIDENTIAL legend”), to each page that contains protected material. If only a
  14   portion or portions of the material on a page qualifies for protection, the Producing
  15   Party also must clearly identify the protected portion(s) (e.g., by making appropriate
  16   markings in the margins).
  17                A Party or Non-Party that makes original documents available for
  18   inspection need not designate them for protection until after the inspecting Party has
  19   indicated which documents it would like copied and produced. During the inspection
  20   and before the designation, all of the material made available for inspection will be
  21   deemed “CONFIDENTIAL.” After the inspecting Party has identified the documents
  22   it wants copied and produced, the Producing Party must determine which documents,
  23   or portions thereof, qualify for protection under this Order. Then, before producing
  24   the specified documents, the Producing Party must affix the “CONFIDENTIAL
  25   legend” to each page that contains Protected Material. If only a portion or portions
  26   of the material on a page qualifies for protection, the Producing Party also must clearly
  27   identify the protected portion(s) (e.g., by making appropriate markings in the
  28   margins).
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   1             (b) for testimony given in depositions that the Designating Party identify the
   2   Disclosure or Discovery Material on the record, before the close of the deposition all
   3   protected testimony.
   4             (c) for information produced in some form other than documentary and for any
   5   other tangible items, that the Producing Party affix in a prominent place on the exterior
   6   of the container or containers in which the information           is stored the legend
   7   “CONFIDENTIAL.” If only a portion or portions of the information warrants
   8   protection, the Producing Party, to the extent practicable, will identify the protected
   9   portion(s).
  10             5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
  11   failure to designate qualified information or items does not, standing alone, waive the
  12   Designating Party’s right to secure protection under this Order for such material.
  13   Upon timely correction of a designation, the Receiving Party must make reasonable
  14   efforts to assure that the material is treated in accordance with the provisions of this
  15   Order.
  16   6.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
  17             6.1   Timing of Challenges.     Any Party or Non-Party may challenge a
  18   designation of confidentiality at any time that is consistent with the Court’s
  19   Scheduling Order.
  20             6.2   Meet and Confer.     The Challenging Party will initiate the dispute
  21   resolution process (and, if necessary, file a discovery motion) under Local Rule 37.1
  22   et seq.
  23             6.3   The burden of persuasion in any such challenge proceeding will be on
  24   the Designating Party. Frivolous challenges, and those made for an improper purpose
  25   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
  26   expose the Challenging Party to sanctions. Unless the Designating Party has waived
  27   or withdrawn the confidentiality designation, all parties will continue to afford the
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   1   material in question the level of protection to which it is entitled under the Producing
   2   Party’s designation until the Court rules on the challenge.
   3   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
   4         7.1      Basic Principles. A Receiving Party may use Protected Material that is
   5   disclosed or produced by another Party or by a Non-Party in connection with this
   6   Action only for prosecuting, defending, or attempting to settle this Action. Such
   7   Protected Material may be disclosed only to the categories of persons and under the
   8   conditions described in this Order. When the Action has been terminated, a Receiving
   9   Party must comply with the provisions of section 13 below (FINAL DISPOSITION).
  10         Protected Material must be stored and maintained by a Receiving Party at a
  11   location and in a secure manner that ensures that access is limited to the persons
  12   authorized under this Order.
  13         7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless
  14   otherwise ordered by the court or permitted in writing by the Designating Party, a
  15   Receiving      Party    may     disclose    any    information   or   item   designated
  16   “CONFIDENTIAL” only to:
  17               (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
  18   as employees of said Outside Counsel of Record to whom it is reasonably necessary
  19   to disclose the information for this Action;
  20               (b) the officers, directors, and employees (including House Counsel) of the
  21   Receiving Party to whom disclosure is reasonably necessary for this Action;
  22               (c) Experts (as defined in this Order) of the Receiving Party to whom
  23   disclosure is reasonably necessary for this Action and who have signed the
  24   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  25               (d) the Court and its personnel;
  26               (e) court reporters and their staff;
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   1             (f) professional jury or trial consultants, mock jurors, and Professional
   2   Vendors to whom disclosure is reasonably necessary for this Action and who have
   3   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   4             (g) the author or recipient of a document containing the information or a
   5   custodian or other person who otherwise possessed or knew the information;
   6             (h) during their depositions, witnesses ,and attorneys for witnesses, in the
   7   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
   8   requests that the witness sign the form attached as Exhibit A hereto; and (2) they will
   9   not be permitted to keep any confidential information unless they sign the
  10   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
  11   agreed by the Designating Party or ordered by the court. Pages of transcribed
  12   deposition testimony or exhibits to depositions that reveal Protected Material may be
  13   separately bound by the court reporter and may not be disclosed to anyone except as
  14   permitted under this Stipulated Protective Order; and
  15             (i) any mediator or settlement officer, and their supporting personnel,
  16   mutually agreed upon by any of the parties engaged in settlement discussions.
  17   8.    PROTECTED            MATERIAL            SUBPOENAED          OR      ORDERED
  18         PRODUCED IN OTHER LITIGATION
  19         If a Party is served with a subpoena or a court order issued in other litigation
  20   that compels disclosure of any information or items designated in this Action as
  21   “CONFIDENTIAL,” that Party must:
  22             (a) promptly notify in writing the Designating Party. Such notification will
  23   include a copy of the subpoena or court order;
  24             (b) promptly notify in writing the party who caused the subpoena or order
  25   to issue in the other litigation that some or all of the material covered by the subpoena
  26   or order is subject to this Protective Order. Such notification will include a copy of
  27   this Stipulated Protective Order; and
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   1            (c) cooperate with respect to all reasonable procedures sought to be pursued
   2   by the Designating Party whose Protected Material may be affected.
   3         If the Designating Party timely seeks a protective order, the Party served with
   4   the subpoena or court order will not produce any information designated in this action
   5   as “CONFIDENTIAL” before a determination by the court from which the subpoena
   6   or order issued, unless the Party has obtained the Designating Party’s permission. The
   7   Designating Party will bear the burden and expense of seeking protection in that court
   8   of its confidential material and nothing in these provisions should be construed as
   9   authorizing or encouraging a Receiving Party in this Action to disobey a lawful
  10   directive from another court.
  11   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
  12         PRODUCED IN THIS LITIGATION
  13            (a) The terms of this Order are applicable to information produced by a
  14   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
  15   produced by Non-Parties in connection with this litigation is protected by the
  16   remedies and relief provided by this Order. Nothing in these provisions should be
  17   construed as prohibiting a Non-Party from seeking additional protections.
  18            (b) In the event that a Party is required, by a valid discovery request, to
  19   produce a Non-Party’s confidential information in its possession, and the Party is
  20   subject to an agreement with the Non-Party not to produce the Non-Party’s
  21   confidential information, then the Party will:
  22                (1) promptly notify in writing the Requesting Party and the Non-Party
  23   that some or all of the information requested is subject to a confidentiality agreement
  24   with a Non-Party;
  25                (2) promptly provide the Non-Party with a copy of the Stipulated
  26   Protective Order in this Action, the relevant discovery request(s), and a reasonably
  27   specific description of the information requested; and
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   1                (3) make the information requested available for inspection by the Non-
   2   Party, if requested.
   3             (c) If the Non-Party fails to seek a protective order from this court within
   4   14 days of receiving the notice and accompanying information, the Receiving Party
   5   may produce the Non-Party’s confidential information responsive to the discovery
   6   request. If the Non-Party timely seeks a protective order, the Receiving Party will not
   7   produce any information in its possession or control that is subject to the
   8   confidentiality agreement with the Non-Party before a determination by the court.
   9   Absent a court order to the contrary, the Non-Party will bear the burden and expense
  10   of seeking protection in this court of its Protected Material.
  11   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  12         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  13   Protected Material to any person or in any circumstance not authorized under this
  14   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
  15   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
  16   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
  17   persons to whom unauthorized disclosures were made of all the terms of this Order,
  18   and (d) request such person or persons to execute the “Acknowledgment and
  19   Agreement to Be Bound” that is attached hereto as Exhibit A.
  20   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  21         PROTECTED MATERIAL
  22         When a Producing Party gives notice to Receiving Parties that certain
  23   inadvertently produced material is subject to a claim of privilege or other protection,
  24   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
  25   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
  26   may be established in an e-discovery order that provides for production without prior
  27   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
  28   parties reach an agreement on the effect of disclosure of a communication or
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   1   information covered by the attorney-client privilege or work product protection, the
   2   parties may incorporate their agreement in the stipulated protective order submitted
   3   to the court.
   4   12.   MISCELLANEOUS
   5         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
   6   person to seek its modification by the Court in the future.
   7         12.2 Right to Assert Other Objections. By stipulating to the entry of this
   8   Protective Order no Party waives any right it otherwise would have to object to
   9   disclosing or producing any information or item on any ground not addressed in this
  10   Stipulated Protective Order. Similarly, no Party waives any right to object on any
  11   ground to use in evidence of any of the material covered by this Protective Order.
  12         12.3 Filing Protected Material. A Party that seeks to file under seal any
  13   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
  14   only be filed under seal pursuant to a court order authorizing the sealing of the specific
  15   Protected Material at issue. If a Party's request to file Protected Material under seal
  16   is denied by the court, then the Receiving Party may file the information in the public
  17   record unless otherwise instructed by the court.
  18   13.   FINAL DISPOSITION
  19         After the final disposition of this Action, as defined in paragraph 4, within 60
  20   days of a written request by the Designating Party, each Receiving Party must return
  21   all Protected Material to the Producing Party or destroy such material. As used in this
  22   subdivision, “all Protected Material” includes all copies, abstracts, compilations,
  23   summaries, and any other format reproducing or capturing any of the Protected
  24   Material. Whether the Protected Material is returned or destroyed, the Receiving
  25   Party must submit a written certification to the Producing Party (and, if not the same
  26   person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
  27   (by category, where appropriate) all the Protected Material that was returned or
  28   destroyed and (2) affirms that the Receiving Party has not retained any copies,
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   1   abstracts, compilations, summaries or any other format reproducing or capturing any
   2   of the Protected Material. Notwithstanding this provision, Counsel are entitled to
   3   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
   4   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
   5   reports, attorney work product, and consultant and expert work product, even if such
   6   materials contain Protected Material. Any such archival copies that contain or
   7   constitute Protected Material remain subject to this Protective Order as set forth in
   8   Section 4 (DURATION).
   9         14.    Any willful violation of this Order may be punished by civil or criminal
  10   contempt proceedings, financial or evidentiary sanctions, reference to disciplinary
  11   authorities, or other appropriate action at the discretion of the Court.
  12   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
  13   DATED: November 17, 2021
  14                                                   /s/ Meir J. Westreich
  15                                               ______________________________
                                                   Attorney for Plaintiff
  16
       DATED: November 17, 2021
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  18
                                                   ______________________________
  19                                               Attorney for Defendants
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       FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
  22

  23
       DATED: 11/18/2021
  24

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                                                   __________________________________
  26                                               HON. MICHAEL R. WILNER
                                                   United States Magistrate Judge
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   1                                       EXHIBIT A
   2            ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
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   4         I, _____________________________ [full name], of _________________
   5   ________________________________________________________[full address],
   6   declare under penalty of perjury that I have read in its entirety and understand the
   7   Stipulated Protective Order that was issued by the United States District Court for the
   8   Central District of California on [date] in the case of ___________ [insert case name
   9   and number]. I agree to comply with and to be bound by all the terms of this
  10   Stipulated Protective Order and I understand and acknowledge that failure to so
  11   comply could expose me to sanctions and punishment in the nature of contempt. I
  12   solemnly promise that I will not disclose in any manner any information or item that
  13   is subject to this Stipulated Protective Order to any person or entity except in strict
  14   compliance with the provisions of this Order.
  15         I further agree to submit to the jurisdiction of the United States District Court
  16   for the Central District of California for the purpose of enforcing the terms of this
  17   Stipulated Protective Order, even if such enforcement proceedings occur after
  18   termination of this action. I hereby appoint __________________________ [full
  19   name] of _______________________________________ [full address and
  20   telephone number] as my California agent for service of process in connection with
  21   this action or any proceedings related to enforcement of this Stipulated Protective
  22   Order.
  23   Date: ______________________________________
  24         City and State where signed: _________________________________
  25

  26   Printed name: _______________________________
  27

  28   Signature: __________________________________
                                                 14
